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       ,,",
         "




                                       SOU"l!BBRii DJ:SDJ:C'f OF CALl:I"OIQ1JA

                                                                         O~ ,,' l <656
              UNITED STATES OF AMERICA                    )   Criminal Case No.   J____________
                                                          )
       .4                  Plaintiff,                     )
                                                          )           COIIPLAJ:R~
                                                          )
                                                      .   )
                                                          )   Title 21, U.S.C., Secs. 841(al(1)
                               'T.                        )   and 846 - Conspiracy to Possess
                                                          )   Cocaine with Intent to Distribute
                                                          )   and to Di'stribute Cocaine.
                                                          )
                                i /'     '                )
              MICHAEL KRAPCHAN (I),                       )
              HASSAN SHIRANI ':(2),                       )
              RYAN WEDDING (3),                           )

                           Defelujant·•



                     The u!\ders~gned complaint, based upon the attached ~ffidavit, and
       ,,;    being duly sworn;
                                                      CgaAt 1


                     Beginning on a date unknown and continuing up to and including
              June   13,   2008,.: within     the   Southern      District   of   Califo'rnia,    and

              elsewhere. defendants MICHAEL KRAPCHAN, HASSAN SHlRANAI, RYAN WEDDING
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                 did knowingly ~nd intentionally conspire and agree with each other and

                 with   others   known    and   unknown,       to   possess    with    the   intent   to

                 distribu.te and :to distribute 5 kilograms ar..d more of cocaine, to wit:

                 approximately ;24      kilograms   of   cocaine,      a    Schedule    II   Ccntrolled

                 Substance in violation of Title 21,                Onited States Code,        Sections
                 841 (a) (1) and 846.



                                                Brett Kalina
                                                Special Agent
                                                Federal Bureau of Investigation



                 Sworn before me and subscribed in my presence, June _ _~~_~, 2008



                                                u.s. Magistrate Judge




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      ..   :.:


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                                                An1DAVD'

      I, Brett Kalina, being cUv sworn. heIebv declare and state as tiaIaws:
              1.        I have beert en~ _ an FBI Special Agent ainoe June 2004. I am
      currently asigned to the San Diego Field Division. 0Iganizad Crime Squad, and have
      been since July 2006. P,rior to my aasignment to the Organized Crime Squad 1 was
      assigned to the Major Mexican Drug Task Foroe SqtI8d for two years. Dlaing the
      investigation of organized Crime I have ~ lied In the inWIltigation of numerous drug
      related offenses.. AdcIiOpDaUy ~ mae:)~!&. weeks of rom. zed tniaing at the FBI
      .AtaIemy in Quanrico. Vugiaja. wIIc:Ie I becane • inter alitI with bow c:ontroDed subsbmces
      are CIODSUIDIfId, nwmlid_t4 packar1.. markded addislrihuled. As a Speei8lAgeat of1he FBJ.I
      have participated in seva1dJJMCOtic ~ ofaIJeaed crimina) violations of the CooIro11ed
      Substances Act.. I have p~ in _eotie invesriptioDs aDd have conducted DUIIJeIOU9
      surveillla:eoperalionsin~wi1hIJlRX)lic~ IamfamiIiarwith dleoperatioos
    . of ilIep1 drug traftiddag oqpnizations in the tJnited States aad Mexico,. iadudiug tho&e
      organizalionswhosc cpenati_iInoIYetllcdisdulionofwlJolesalequ.Ni'ies oCoaijama,. cocaine
      and~ine.

             2.     I make this; afIdafit in support of a Clilllinal cornpIaft cnI anast warrant
      against

                    8_
                    b.
                    c.
                            Has$an
                                .    ShDni
                            Ryai;I Wedding,
                                            .
                            M. . . . Krapcta\.



     fer violation of Tille 21, UniIed StaIBS Code;Sections 848, conspiracy to posse IS with 1he
     intent to dia1ribute cocair1e.                                                   .

              3.     The intOnmition set fOrth below is basDd OIl my peasoaal knowledge ancVOl
      infoo:na1i<m oommunk;ated 10 me fioal other Jaweabccment ofticers iavoJw:d in the ir:tvcstiption
      oftbe afonmemioned ~.

             4.     BecalIS8 this aftidavit is being subllilled for1he IimIed purpose of aeelq a
      criminal complaint forthe'above IisIed individuals, I haVe not sal forth each and everyfac:t
      learned dunng the course of this irMIstigalion. RaIta,I have set forth onfythole1ilcts that
      I believe are necessary 10 establish probable cause for the is8Ia1ce of the requestBd
      criminal complaint.

             S.     The FBI haS been irwe stigali.. the money laundering and drug distIibution
     activities of EJmar Akh.IodoY. the . . . of the AktuIdov drug tJatfiddng organization
     (-AktuIdov DT(Y) the MhLmdov         orois balad in Vancouver, Canada.- As desaibed it
     graaIBr detail below, Michael Krapchan ("KRAPCHAN") 1la18an Shirani ('"SHIRAH., and
     Ryan Wedding ('"'VVEDOIttG1 ant AktuIdov OTO asaociaIes.
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             6.      0uri:D& the ~ pri« to IUDe 13, ~ an ml cmficle:atial soan:e ("'CS-l ") met
     .w:ith Aklamdov ... KRAPCI:IAN tqpmHag the pUlr;base of cocaiac.. These DepJliatioDs were
      recorded aod ~ over the tdep1'OIoc and in penon. in IocIItioDs 1hd: ~ but weN not
      limited ~.Seattk:, Washieagtm;t ... San Diego, c.Iibnia.                         .

              7.      PuauaDtto tJ'&ese 1IIII:&OIt~ owwrecorded tdephofteeantCUJlltiomL, Akhnodov and
      KRAPCHAN agreed 10 IIa\'elIo Sao IJicao, Cali10mia 011 go Bout June 9. 20GB 10 p.IICbase 24
      kilograms ofoocaiDe fiom CS-l. However, _ JtIDe 10,2001, agents learned thatAkbundov would
      JlOt be pteSCDt to comp~ tile previously JlflgC"iated 1rMB1im. Radler, the DTO unjJIII:raDy
      altered the previously DepJtiakld plan and C8-1 sobsrqocudy IIIC'Jt GIlly withUAPCHAN and DTO
      associates SHIRANI aDd WEDDING.

             I.      Lib K.IlAPCHAN, SHIRANI. .WEDDING 1nneIed to CaIifomia from Canada.
      On June 1~ 2001, n.APCHAN iDIIoduccd SHIRANIBDd WEDDING. the 3CJ'UICeI of suppJy of
      the mooe,y which the mu iiltcDloW to _to purdBse ibeJR"ioImIy aegutiated IIIDOUIIt ofoocaine.
      DotiogRlCOldedCOln'CDMiiD betweenKRAPCHAN, SIURANI, WFDDINOaod CS-I, SHIRANI
      uad WFDDING bodl expIainat to CS-l thallhc buy-moacy was DGt i..... dly available upon 1heir
      aniva1 at the Los Aagdes IOtr.mational Airport.

                      L      Specifka1ly. WEDDING told. CS-l that they [WEDDING .... SHIRANI]
      undcJstood tbat 1he -deal" fdruJ Iranl8CtiuuI would DOt oaD'Da Los Angeles. but that is where the
      "'paper [buy :m.oney] was locaIcL WEDDING explained 1II8l if they had kaowa tIIat tile "'deal"
      wouldoc:urrimtDedElyllpODarrival they wauId:baveaaiYedah dlyseades. WEDDJNG Stak:d
      tbIlt the money was in Los AD&des wai.bna fOr "uti" [WEDDING and SHlRANl)~ tutbattbey j...
      had to pick it up. WEDDING dIICD SbIiIed, -obviously,'" didn~t put "it" [the buy JDODeY] in my
      [ui]suitcue.,.,             .

                         b. .    WEDDING also ~ dial their [WEDDING's IIDd SHIRA.Nr's] iBtrntion
       was to "'arab ODe" [kilogIma ofcocaiDc] IIId "IIave a Jook at it ... and pille JeSt of them later.·~
       SBJRANI sulJSC:qneotlySlatiDd tbIIt"1W)e [WEDDING- SHIRANI) canoot canyDJOaey overthe
      .border" and SbIted that tbeyJ-l to JCl tbe~to LosAogeJs beAm:tbey wrlved io Los Angeles.
                 9.      OnJuae 11,~duriDgaftlJCOl'ded. teIqt1xme~ betweeaSHIRANI and
       CS-l. SIDRANI desaibedbow he iI......... ,peactina drug"BMiSi'dioato occur. SHIRANI stated
       that he would givcCS-J IDOIiIey for "two" (kiIop_ofcoqjge]. SHIRANI exp'aiaed tbatCJJKle the
       1nIIIsfi:::rfOr"two" WIll comp.1eIed 1IIco 1hey 'MIIIIld do aoodJe:r -.:wo.- SHIR.ANI dial stated that the
       first transfer would be Cot _ "all'" (ki1opaD of cocaiae1 so tMt _ [SHlRANI] C8Il iospect the
       cocaiac ad see ifit meets ~expedatioa. f.JItimaIdy, tile padies acreed to c:oodact the exchange
       0Il1uae 13, 2008.                                                                                        '

                10.     On 1_ 13~ ~, FBI ageIItS observed lCRAPCIfAN. SHIRANI, aad WEDDING
      IllTive togedter' at a Sao J.liego Han,. . Ibn Hold wIaiIe driviDg in a 2008 Toyola Prius (Cal Lie.. #
      6DCW913). KJtAPCHAN~ SHIRANI and WEDDING eatcRd the hotel togetta. A sbort time
      later, usins theaf~TOJ'C*I, Prius, KJtAPCHAN left _ San Diego HMlJ--1on Hotel
      and traveled alone to a)X'CllleJamiued loaItioD wbl:aetlaep:eviousJy rqotiMeddrug b. . ."tiOID was
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      to occur.     Upoa arrival,. !CS-hDCt with KRAPCHAN,. wlleaWfNill ICRAPCHAN exc:baMged
      sevenIeeI1...fbomaad doks!fixooeki1oglam ofcocaine. ICRAPCHAN opcoedtbeJW""9givaato
      him by CS-I in what ~ to be III effort to ideatify .... was (,..Djpr,J 1IIaaa. Aft« the
      excharlge toot pJa£e.. cs.l BlbdKRAPCHAN to caII_ ."m SHIllANIaad WFDDINOdiatthe.
      excbange did, ·in fact, take pIagc 88 pn:vioasly ~ UsiDg his cell.... 1cIcphone,
      KRAPCHAN placed a call. aoideatified ~ [beIic:ved to be SHlRANIaud WFDDINO]
                            m
      aud slated that be 1Iad &e;t rec:d.wd the "cocaine" m. CS-l. Aft1r III8kias this telephone caJl.
      KRAPCHAN was placc:d ~ 8IRIIt.
             1l.    ~     K:RA.PbIAN   ..,..arn:MCXI. SHlRANImd WE.DDlNGwaeplacecl'UllCb'anat
      as they were leaviDa 1be San Ilic:go I. . . . . hID Hotel During a sub&eqoent seII'CIt of the
      abemewiooed ToyoIa, Pria 8@ICPIS 10CIIIed    **'  t1IlItr:

             1)      a aedit canl~ bold key tOr Comfbrt Imi witb.1be namber~" wri:ttea 1IpOIl it;

             2)      a 'fdJicIc . . agrecmc:at iD the DmlC of "Ryan Wcdding~ with SfDRANI's
                     si~ ~ SHIKANI as an IIdditioad driver; ..t
                                 ,
             3)      a real eataIB magazine far the San fen"ando Valley . . .
               The 1JIADII8f'iIDCIatl1bc Comfod bm Iocatad at 20157 Venb.n Boulevard, Woodland
      Hilts, c::A 91364,. confirme;:I that JOODlI304 was qiskIIed to WEDDING.

            . 12.     PunuaIt to ~ seardl W8II'8Dl issued in 1be O3rall>istrktofCalif. . . . . . . . tmm
      the FBI searebed ~ '304. Hiddra witbin a piece of1lae hotel nnn's fumiIure, . ..located
      apptux illwtely $100pOOO~OOl oflJDilcd S1ata emreocy.

              13.    Based OIl the inbmation set tbdh ~ I believe 1hat tJae is probUIe cause to
      believe dud KRAPCHAN. $tI1RAN1 and WEDDING conspiIad k» possess. with the intent
      distribute, 241ci1og1wns of cocaine. a Schedule II   COl'"
                                                          oIed 8Ub8tanca. in WoIation of TIlle
      21 ~ UnilBd States Code. ~ 846 ...s 141(aXt).




                                                          Special Agent
                                                          Federal Bu.... d Investigation .


      sWorn before me and SI.JI)Saibed in my pre I enca. Jtme . /.5
